Case 5:21-cr-50014-TLB Document 158           Filed 05/25/22 Page 1 of 3 PageID #: 3846




                      IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                              FAYETTEVILLE DIVISION


CRIMINAL NO.:        5:21-CR-50014-001           USA v. JOSHUA JAMES DUGGAR

COURT PERSONNEL:                                 APPEARANCES:

Judge:         TIMOTHY L. BROOKS                 Govt.: DUSTIN ROBERTS
                                                        CARLY MARSHALL
                                                        WILLIAM CLAYMAN

Clerk:         SHERI CRAIG                       Deft.: JUSTIN GELFAND
                                                        IAN MURPHY
                                                        TRAVIS STORY

Reporter:      PAULA BARDEN


                             SENTENCING MINUTE SHEET


      On this date the above named Defendant appeared in person and with counsel for
sentencing.

         (X)   Inquiry made whether Defendant is under the influence of any substance
               that would impair the ability to comprehend the proceedings.

         (X)   Inquiry made that Defendant is satisfied with counsel.

         (X)   Court determined that Defendant and counsel have had opportunity to read
               and discuss presentence investigation report.

         (X)   Count 2 dismissed on motion by the Government.

         (X)   Argument by Counsel regarding objections.

         (X)   Court rules on objections from the Bench.

         (X)   Presentence investigation report reviewed in open court.

         (X)   Attorney for Government afforded opportunity to make statement to Court.

         (X)   Counsel for Defendant afforded opportunity to speak on behalf of
               Defendant.
Case 5:21-cr-50014-TLB Document 158      Filed 05/25/22 Page 2 of 3 PageID #: 3847




CRIMINAL NO.:    5:21-CR-50014-001


     (X)   Defendant afforded opportunity to make statement and present information
           in mitigation of sentence.

     (X)   Court proceeded to impose sentence as follows:

           151 months imprisonment; 20 years supervised release; $10,000.00 fine
           imposed - interest waived.

     (X)   Defendant ordered to comply with standard conditions of supervised
           release.

     (X)   Defendant ordered to comply with the special conditions of supervised
           release set forth in the Judgment, as well as:

           1.    The Defendant shall have no unsupervised contact with minors. If
                 there is a concern about the potential for inadvertent contact with a
                 minor at a particular place, function, or event, then the Defendant
                 shall get approval from the U.S. Probation Office before attending
                 any such place, function, or event.

           2.    The Defendant shall submit his person, residence, place of
                 employment, vehicle, papers, computer, other electronic
                 communication or data storage devices or media, and effects to a
                 search conducted by the U.S. Probation Office at a reasonable time
                 and in a reasonable manner based upon reasonable suspicion that
                 a violation of any condition of supervised release might thereby be
                 disclosed.

           3.    Except for purposes of employment (when the Defendant is working
                 on his employer’s premises using his employer’s computers and
                 devices), the Defendant shall not possess, use, or have access to a
                 computer or any other electronic device that has Internet or
                 photograph storage capabilities without prior advance notice and
                 approval of the U.S. Probation Office. Reasonable requests by the
                 Defendant for such approval should not be denied, provided that the
                 Defendant allows the U.S. Probation Office to install Internet-
                 monitoring software, the Defendant pays for the software, and
                 Defendant submits to random searches of his computers, electronic
                 devices, and peripherals.
Case 5:21-cr-50014-TLB Document 158      Filed 05/25/22 Page 3 of 3 PageID #: 3848




CRIMINAL NO.:    5:21-CR-50014-001


           4.    The Defendant shall not purchase, possess, use, distribute, or
                 administer marijuana or obtain or possess a medical marijuana card
                 or prescription. If the Defendant is currently in possession of a
                 medical marijuana card, he will turn it over immediately to the
                 probation office.

           5.    The Defendant must participate in a sex offense-specific treatment
                 program. The Defendant must pay for the costs of the program if
                 financially able.

           6.    The Defendant shall be required to submit to periodic polygraph
                 testing at the discretion of the probation office as a means to ensure
                 that he is in compliance with the requirements of his supervision or
                 treatment program.

     (X)   Defendant ordered to pay a total special assessment of $100.00, an
           additional special of $5,000.00, and a special assessment of $35,000.00
           (pursuant to 18 USC § 2259A), which shall be due immediately.

     (X)   Defendant advised of appeal rights.

     (X)   Defendant remanded to custody of USMS.


DATE: May 25, 2022                                        Proceeding began: 9:35 am

                                                                      ended: 2:58 pm
